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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


                        DANNY AVILA                               )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                         Civil Action No. 0:19-CV-60642-BB
                                                                  )
                    GTR MOTORS, INC.                              )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GTR MOTORS, INC.
                                           GUSEV, IGOR, Registered Agent
                                           1221 Hayes St.
                                           Hollywood, FL 33019




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: F. SCOTT FISTEL, ESQ.
                                           FISTEL LAW GROUP, P.A.
                                           1451 W. CYPRESS CREEK RD. SUITE 300
                                           FT. LAUDERDALE, FL 33308



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
